Case 2:12-cv-06383-JFB-AKT Document 612 Filed 09/18/18 Page 1 of 2 PageID #: 13501



  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK
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  SKY MEDICAL SUPPLY, INC.,

                            Plaintiff,

                   -against-                                             CV 12-6383 (JFB) (AKT)

  SCS SUPPORT CLAIM SERVICES, INC., PATIENT FOCUS
  MEDICAL EXAMINATIONS, PC d/b/a ALL BOROUGH
  MEDICAL, PC, NATIONWIDE MANAGEMENT INC., BAB
  MANAGEMENT INC., MANAGEMENT COMPANY A,
  MANAGEMENT COMPANY B, MANAGEMENT
  COMPANY C, MANAGEMENT COMPANY D,
  MANAGEMENT COMPANY E, BENJAMIN OSIASHVILI
  a.k.a VENIAMIN OSIASHVILI, MIKAEL OSIASHVILI a.k.a
  MICHAEL OSIASHVILI, SVETLANA OSIASHVILI,
  ALEKSEY VAYNER a.k.a ALEX VAYNER, EITAN
  DAGAN, MANAGER DEFENDANT A, MANAGER
  DEFENDANT B, MANAGER DEFENDANT C, MANAGER
  DEFENDANT D, MANAGER DEFENDANT E, TATIANA
  SHARAHY, MD, MITCHELL EHRLICH, MD, JOSEPH C.
  COLE, MD, JULIO WESTERBAND, MD, WILLIAM A.
  ROSS, MD, RENAT R. SUKHOV, MD, WILLIAM S.
  KRITZBERG, MD, ROBERT A. SOHN, DC, STANLEY
  ROSS, MD, MITCHELL L. WEISMAN, MD, MARK
  WEBER, MD, GARY J. FLORIO, MD, ANTONIO
  MARTINS, MD, DAMION A. MARTINS, MD, M.S.,
  DANTE BRITTIS, MD, CHRISTOPHER FERRANTE, DC,
  BRIAN FREINDLICH, DC, WAYNE KERNESS, MD,
  DENIS MANN, DC, ANDREW MILLER, MD, ANDREW
  BAZOS, MD, DREW STEIN, MD, LINDA ACKERMAN
  and EVGENIYA VAKIDOVA,

                             Defendants.
  --------------------------------------------------------------X
  A. KATHLEEN TOMLINSON, Magistrate Judge:

          The Court has reviewed Plaintiff’s request for a 120-day extension of the deadline to

  exchange expert reports, see DE 605, and Defendants’ reply. See DE 606. In light of the history

  of this case, the Court is granting in part, and denying in part, Plaintiff’s request. The parties are

  granted a 60-day extension of the deadline to serve expert reports (new deadline is October 31,
Case 2:12-cv-06383-JFB-AKT Document 612 Filed 09/18/18 Page 2 of 2 PageID #: 13502



  2018), see DE 598 ¶ 5, with a concomitant extension of 60 days of the deadline to file a letter

  request with Judge Bianco for a pre-motion conference for purposes of filing a Daubert motion

  (new deadline is November 19, 2018). See id.



                                                       SO ORDERED.

  Dated: Central Islip, New York
         September 18, 2018

                                                       /s/ A. Kathleen Tomlinson
                                                       A. KATHLEEN TOMLINSON
                                                       United States Magistrate Judge




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